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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                         UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                               FOR THE DISTRICT OF NEVADA
                                                      10

                                                      11       In re:                                                   Case No.: 21-14486-abl
                                                                                                                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12       INFINITY CAPITAL MANAGEMENT, INC.
                                                               dba INFINITY HEALTH CONNECTIONS,
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                              Debtor.
                                                      14

                                                      15                JOINT MOTION TO ENFORCE COURT ORDERS AND REQUIRE PREVA
                                                      16                   ADVANCED SURGICARE – THE WOODLANDS, LLC TO REMIT
                                                                               PAYMENTS RELATING TO ACCOUNTS RECEIVABLE
                                                      17

                                                      18                Tecumseh–Infinity Medical Receivable Fund, LP, (“Tecumseh”) and HASelect-Medical

                                                      19   Receivables Litigation Finance Fund International LP (“HASelect”) jointly move this Court to

                                                      20   enforce this Court’s prior order approving abandonment of collateral [ECF No. 97] (the

                                                      21   “Abandonment Order”), this Court’s prior order granting HASelect relief from stay pursuant to 11

                                                      22   U.S.C. § 362 1 [ECF No. 106] (the “Relief Order”), and this Court’s prior order approving the sale

                                                      23   by the Chapter 7 Trustee Robert E. Atkinson (the “Trustee”) to HASelect of all rights, title,

                                                      24   interests, and claims held by Infinity’s bankruptcy estate in certain accounts receivable subject to

                                                      25   Tecumseh’s claims [ECF No. 184] (the “Sale Order” and collectively with the Abandonment Order

                                                      26
                                                           1
                                                            Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the “Bankruptcy
                                                      27   Code”), all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),
                                                           and all references to “Local Rules” are to the Local Rules of Bankruptcy Practice for the U.S. District Court for the
                                                      28   District of Nevada (the “Local Rules”).



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                                                       1
                                                           and Relief Order, the “Orders”) with respect to various accounts receivable and collections thereon
                                                       2
                                                           that are in the hands of third parties, including, but not limited to Preva Advanced SurgiCare – The
                                                       3
                                                           Woodlands, LLC (“Preva”).
                                                       4
                                                                                                         RELEVANT FACTS
                                                       5
                                                                      1.       Debtor Infinity Capital Management, Inc. (“Debtor” or “Infinity”) filed its voluntary
                                                       6
                                                           chapter 7 petition in the United States Bankruptcy Court for the District of Nevada (the “Bankruptcy
                                                       7
                                                           Court”) on September 14, 2021 (the “Petition Date”), commencing the above-referenced, chapter 7
                                                       8
                                                           bankruptcy case, (the “Bankruptcy Case”).
                                                       9
                                                                      2.       On September 22, 2021, HASelect and the Trustee filed a joint motion 2 through
                                                      10
                                                           which the Trustee requested the Court approve the abandonment of the certain accounts receivable
                                                      11
                                                           and other personal property pledged as collateral (the “Collateral”) for loans made to Infinity by
              1731 Village Center Circle, Suite 150




                                                      12
                                                           HASelect. On October 15, 2021, the Court entered the Abandonment Order 3 approving the
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                                                      13
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                                                           Trustee’s abandonment of the Collateral to HASelect. Among other things, the Abandonment
                                                      14
                                                           Order instructs that any person who “is or may come into possession of any of the Collateral is
                                                      15
                                                           hereby authorized and directed to turn over such Collateral to HASelect.”
                                                      16
                                                                      3.       On September 22, 2021, HASelect also filed a motion for relief from automatic
                                                      17
                                                           stay 4, requesting that the stay be terminated to allow HASelect to take possession and control of
                                                      18
                                                           the Collateral. On October 21, 2021, the Cout entered the Relief Order 5 terminating the automatic
                                                      19
                                                           stay as requested by HASelect. Similar to the Abandonment Order, the Relief Order instructs that
                                                      20
                                                           any person who “is or may come into possession of any of the Collateral is hereby authorized and
                                                      21
                                                           directed to turn over such Collateral to HASelect.”
                                                      22
                                                                      4.       In entering the Abandonment Order and Relief Order, the Court retained
                                                      23
                                                           jurisdiction regarding matters pertaining to the enforcement of such Orders.
                                                      24

                                                      25
                                                           2
                                                               ECF No. 12.
                                                      26
                                                           3
                                                               ECF No. 97. A copy of the Abandonment Order is attached hereto as Exhibit 1.
                                                      27   4
                                                               ECF No. 17.
                                                      28   5
                                                               ECF No. 106. A copy of the Relief Order is attached hereto as Exhibit 2.



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                                                       1
                                                                      5.       Shortly after the Petition Date, a dispute arose between HASelect and Tecumseh
                                                       2
                                                           regarding their respective claims to certain accounts receivable acquired from various third parties
                                                       3
                                                           as identified in documents filed in the Bankruptcy Case at ECF Nos. 201-1 and 201-2 (defined
                                                       4
                                                           herein as the “Portfolio”). 6
                                                       5
                                                                      6.       The above-referenced dispute resulted in the filing of an Adversary Proceeding by
                                                       6
                                                           HASelect captioned HASelect-Medical Receivables Litigation Finance Fund International SP v.
                                                       7
                                                           Tecumseh-Infinity Medical Receivables Fund, LP, Adv. Pro. No. 21-01167-abl in the United States
                                                       8
                                                           Bankruptcy Court for the District of Nevada on October 19, 2021 (the “Adversary Proceeding”).
                                                       9
                                                           Tecumseh subsequently asserted counterclaims against both HASelect and the Trustee, who later
                                                      10
                                                           asserted a counterclaim against Tecumseh relating to the Portfolio.
                                                      11
                                                                      7.       On December 6, 2021, the Trustee filed a motion to sell the bankruptcy estate’s
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                                                      12
                                                           interest, if any, in the Portfolio. 7 On January 21, 2022, the Court entered an order granting the
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                                                      13
                                                           Trustee’s motion and scheduling an auction to take place on February 8, 2022. 8
                        (702) 471-7432




                                                      14
                                                                      8.       On or about January 31, 2022, HASelect and Tecumseh entered into a servicing
                                                      15
                                                           agreement and an escrow agreement with TPL Claims Management, LLC (“TPL”) under which
                                                      16
                                                           they jointly engaged TPL to service and collect the Portfolio and to hold the proceeds of the
                                                      17
                                                           Portfolio in escrow pending the final resolution of claims and counterclaims asserted in the
                                                      18
                                                           Adversary Proceeding.
                                                      19
                                                                      9.       On February 11, 2022, the Court entered the Sale Order 9 approving the sale of the
                                                      20
                                                           bankruptcy estate’s interest, if any, in the Portfolio to HASelect for a purchase price of $100,000.
                                                      21
                                                                      10.      The Sale Order plainly provides that the Trustee’s sale of the Portfolio to HASelect
                                                      22
                                                           was made free and clear of all liens, claims, and other encumbrances that could be asserted by any
                                                      23

                                                      24   6
                                                             The Portfolio is made up of the accounts receivable described as the “Tecumseh Receivables” in the Relief Order,
                                                           the Abandonment Order, and the Sale Order.
                                                      25
                                                           7
                                                               ECF No. 145. In the Trustee’s motion, the Portfolio is described as the “Tecumseh Receivables.”
                                                      26   8
                                                               ECF No. 175.
                                                      27   9
                                                            ECF No. 184. A copy of the Sale Order is attached hereto as Exhibit 3. HASelect was later substituted into the
                                                           Trustee’s shoes in the Adversary Proceeding to defend the counterclaim asserted against it by Tecumseh and to
                                                      28   prosecute the Trustee’s counterclaim against Tecumseh. See Adversary Proceeding ECF No. 81.



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                                                       1
                                                           person other than HASelect or Tecumseh:
                                                       2              The sale of the Assets is free and clear of all liens, claims, and encumbrances
                                                                      of any third party other than HASelect and Tecumseh. The Assets are sold
                                                       3              subject to whatever rights, title, interests, and encumbrances HASelect and
                                                                      Tecumseh may have in the Tecumseh Receivables. Both HASelect’s and
                                                       4              Tecumseh’s interests in the Assets that existed as of the Petition Date shall
                                                                      remain unaffected by the sale. 10
                                                       5

                                                       6              11.      Beginning in 2019 and continuing through 2021, Infinity entered a series written

                                                       7   agreements with Preva 11 under which Infinity paid over $500,000 to Preva in exchange for which

                                                       8   Preva agreed to pay Infinity certain amounts from Preva’s collection of certain accounts receivable

                                                       9   arising from Preva’s business operations as a provider of professional medical services (the “Preva

                                                      10   Accounts”).

                                                      11              12.      As of the Petition Date, a substantial portion of the Preva Accounts remained
              1731 Village Center Circle, Suite 150




                                                      12   uncollected. 12
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                                                      13              13.      The uncollected Preva Accounts are included among both the Collateral abandoned
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                                                      14   to HASelect pursuant to Abandonment Order and the Portfolio that is the subject of the Sale Order.

                                                      15              14.      Infinity’s various written agreements with Preva are all substantially similar and

                                                      16   require that Preva service and collect the Preva Accounts and remit all amounts due to Infinity

                                                      17   within ten (10) business days of collection. Such agreements also require that Preva provide

                                                      18   monthly reports regarding its collection of the Preva Accounts. 13

                                                      19              15.      HASelect, through its agents, has attempted to contact Preva regarding payment of

                                                      20   collections realized on Preva Accounts included in the Collateral. Preva, however, has ignored

                                                      21   HASelect’s efforts and has failed or refused to remit payment to HASelect of proceeds collected

                                                      22   on such Preva Accounts.

                                                      23              16.      Similarly, TPL has attempted to contact Preva regarding payment of collections

                                                      24
                                                           10
                                                                ECF No. 184, p. 3.
                                                      25
                                                           11
                                                             An example of one such contract and purchase of accounts receivable by Infinity from Preva is attached hereto as
                                                      26   Exhibit 4.
                                                           12
                                                             A list of the Preva Accounts included in the Collateral is attached hereto as Exhibit 5. A list of the Preva Accounts
                                                      27   included in the Portfolio is attached hereto as Exhibit 6.
                                                      28   13
                                                                See Exhibit 4, §§ 5 and 6.



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                                                       1
                                                           realized on the Preva Accounts included in the Portfolio. Preva, however, has completely ignored
                                                       2
                                                           TPL’s efforts and has failed or refused to remit payment to TPL of proceeds collected on such
                                                       3
                                                           Preva Accounts.
                                                       4
                                                                  17.     As such, HASelect and Tecumseh jointly bring this Motion seeking the entry of an
                                                       5
                                                           order enforcing this Court’s prior Orders and requiring (i) that Preva immediately turn over to
                                                       6
                                                           HASelect or TPL, as appropriate, all amounts due based on past collections of the Preva Accounts,
                                                       7
                                                           (ii) that Preva promptly remit to HASelect or TPL, as appropriate, all amounts coming due in the
                                                       8
                                                           future based on collections of the Preva Accounts, and (iii) that Preva make regular monthly reports
                                                       9
                                                           to HASelect and TPL regarding collections of the Preva Accounts.
                                                      10
                                                                                             JURISDICTION AND VENUE
                                                      11
                                                                  18.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157
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                                                      12
                                                           and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
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                                                           this district pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                      14
                                                                                               ARGUMENT
                                                      15   The Court Should Order that Preva Turn Over All Amounts Due Based on Collections of the
                                                           Preva Accounts.
                                                      16

                                                      17          19.     The Court should compel Preva to immediately turn over to HASelect or TPL, as
                                                      18   appropriate, all unremitted amounts due based on collections to date on the Preva Accounts as well
                                                      19   as all such amounts coming due based on future collections of the Preva Accounts. This relief is
                                                      20   contemplated by the Court’s prior Orders and is necessary to effectuate them. This Court can and
                                                      21   should enforce its prior Orders
                                                      22          20.     Every federal court, including this Court, has jurisdiction to enforce its own orders.
                                                      23   See, e.g., Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009) (holding that the “Bankruptcy
                                                      24   Court plainly had jurisdiction to interpret and enforce its own prior order.”); In re United States
                                                      25   Commer. Mortg. Co., Case No. 06-10725, 2007 Bankr. LEXIS 5126 (D. Nev. July 2, 2007)
                                                      26   (“Clearly, a court retains jurisdiction to interpret and enforce its own orders.”).
                                                      27          21.     This Court’s Relief Order and Abandonment Order expressly state that any person
                                                      28   who “is or may come into possession of any of the Collateral is hereby authorized and directed to


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                                                       1
                                                           turnover such Collateral to HASelect.”14 There is no language in either such Order that allows for
                                                       2
                                                           a party in possession of the Collateral to withhold the same without further orders from this Court.
                                                       3
                                                           By way of the Orders, HASelect holds all rights and interest that Infinity once had in the Collateral,
                                                       4
                                                           including Infinity’s rights to payment under its various contracts with Preva as to the Preva Accounts
                                                       5
                                                           and all other accounts receivable included in the Collateral.
                                                       6
                                                                      22.     Similarly, the Sale Order expressly provides that no person other than HASelect or
                                                       7
                                                           Tecumseh holds any rights or interests in the Portfolio. As such, there is no basis for Preva, or any
                                                       8
                                                           other person, to withhold payment of any amounts due in connection with the Preva Accounts or
                                                       9
                                                           other accounts receivable included in the Portfolio.
                                                      10
                                                                      23.     Accordingly, the Court should not hesitate to enforce its Orders by granting the relief
                                                      11
                                                           requested herein.
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                                          CONCLUSION
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
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                                                                      24.     For the reasons stated above, HASelect and Tecumseh respectfully request that the
                                                      14
                                                           Court enter an order in substantially the same form as Exhibit 7 attached hereto enforcing the
                                                      15
                                                           Orders as against Preva and expressly requiring (i) that Preva immediately turn over to HASelect
                                                      16
                                                           or TPL, as appropriate, all amounts due based on past collections of the Preva Accounts, (ii) that
                                                      17
                                                           Preva promptly remit to HASelect or TPL, as appropriate, all amounts coming due in the future
                                                      18
                                                           based on collections of the Preva Accounts, and (iii) that Preva make regular monthly reports to
                                                      19
                                                           HASelect and TPL regarding collections of the Preva Accounts.
                                                      20
                                                           Dated August 18, 2022.                                       Dated August 18, 2022.
                                                      21   GARMAN TURNER GORDON LLP                                     SHEA LARSEN PC
                                                      22    By: /s/ Michael Napoli, Esq.                                By: /s/ Bart K. Larsen, Esq.
                                                            GERALD M. GORDON, ESQ.                                      BART K. LARSEN, ESQ.
                                                      23    WILLIAM M. NOALL, ESQ.                                      KYLE M. WYANT, ESQ.
                                                            7251 Amigo St., Suite 210                                   1731 Village Center Circle, Suite 150
                                                      24    Las Vegas, Nevada 89119                                     Las Vegas, Nevada 89134
                                                      25    -and-                                                       Attorneys for HASelect-Medical Recievables
                                                                                                                        Litigation Finance Fund International SP
                                                      26

                                                      27

                                                      28   14
                                                                See Abandonment Order [ECF No. 97] and Relief Order [ECF No. 106], ¶ 8.



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                                                       4   ARIEL E. STERN, ESQ.
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                                                       5   AKERMAN LLP
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                                                       6   Las Vegas, Nevada 89134

                                                       7
                                                           Attorneys for Tecumseh–Infinity
                                                       8   Medical Receivable Fund, LP

                                                       9

                                                      10

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




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                                                       1                                CERTIFICATE OF SERVICE

                                                       2         1.    On August 18, 2022, I served the following document(s): JOINT MOTION TO
                                                                       ENFORCE COURT ORDERS AND REQUIRE PREVA ADVANCED
                                                       3               SURGICARE – THE WOODLANDS, LLC TO REMIT PAYMENTS
                                                                       RELATING TO ACCOUNTS RECEIVABLE
                                                       4
                                                                 2.    I served the above document(s) by the following means to the persons as listed
                                                       5               below:
                                                       6               ց       a.    ECF System:
                                                       7         ROBERT E. ATKINSON
                                                                 Robert@ch7.vegas, TrusteeECF@ch7.vegas;ecf.alert+atkinson@titlexi.com
                                                       8
                                                                 CLARISSE L. CRISOSTOMO on behalf of Trustee ROBERT E. ATKINSON
                                                       9         clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                      10         BRADFORD IRELAN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS,
                                                                 LLC
                                                      11         birelan@imtexaslaw.com,
                                                                 jstephens@imtexaslaw.com;dhall@imtexaslaw.com;ynguyen@imtexaslaw.com
              1731 Village Center Circle, Suite 150




                                                      12
                                                                 DAVID MINCIN on behalf of Creditor HEALTHPLUS IMAGINING OF TEXAS, LLC
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13         dmincin@mincinlaw.com, cburke@mincinlaw.com
                        (702) 471-7432




                                                      14         MICHAEL D. NAPOLI on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP
                                                      15         michael.napoli@akerman.com,
                                                                 cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;masterdocketlit@ake
                                                      16         rman.com
                                                      17         TRENT L. RICHARDS on behalf of Creditor THE INJURY SPECIALISTS
                                                                 trichards@sagebrushlawyers.com
                                                      18
                                                                 ARIEL E. STERN on behalf of Creditor TECUMSEH - INFINITY MEDICAL
                                                      19         RECEIVABLES FUND, LP
                                                                 ariel.stern@akerman.com, akermanlas@akerman.com
                                                      20
                                                                 U.S. TRUSTEE - LV - 7
                                                      21         USTPRegion17.LV.ECF@usdoj.gov
                                                      22         MATTHEW C. ZIRZOW on behalf of Debtor INFINITY CAPITAL MANAGEMENT,
                                                                 INC.
                                                      23         mzirzow@lzlawnv.com,
                                                                 carey@lzlawnv.com;trish@lzlawnv.com;jennifer@lzlawnv.com;zirzow.matthewc.r99681
                                                      24         @notify.bestcase.com
                                                      25               ‫܈‬       b.    United States mail, postage fully prepaid:
                                                      26         Preva Advanced SurgiCare – The Woodlands, LLC
                                                                 26710 I-45 N. Freeway, Suite B-100
                                                      27         Spring, Texas 77386
                                                      28


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                                                       1
                                                                 Preva Advanced SurgiCare – The Woodlands, LLC
                                                       2         c/o Hugh Shannonhouse
                                                                 2702 Andrew Springs Lane
                                                       3         Spring, Texas 77386

                                                       4         Preva Advanced SurgiCare – The Woodlands, LLC
                                                                 c/o Registered Agent Solutions, Inc.
                                                       5         5301 Southwest Parkway, Suite 400
                                                                 Austin, Texas 78735
                                                       6
                                                                        տ       c.       Personal Service:
                                                       7
                                                                        I personally delivered the document(s) to the persons at these addresses:
                                                       8
                                                                                        տ       For a party represented by an attorney, delivery was made by
                                                       9                handing the document(s) at the attorney’s office with a clerk or other person in
                                                                        charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      10                in the office.

                                                      11                                տ       For a party, delivery was made by handling the document(s)
                                                                        to the party or by leaving the document(s) at the person’s dwelling house or usual
              1731 Village Center Circle, Suite 150




                                                      12                place of abode with someone of suitable age and discretion residing there.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                տ       d.      By direct email (as opposed to through the ECF System):
                        (702) 471-7432




                                                                        Based upon the written agreement of the parties to accept service by email or a
                                                      14                court order, I caused the document(s) to be sent to the persons at the email
                                                                        addresses listed below. I did not receive, within a reasonable time after the
                                                      15                transmission, any electronic message or other indication that the transmission was
                                                                        unsuccessful.
                                                      16
                                                                        տ       e.       By fax transmission:
                                                      17
                                                                        Based upon the written agreement of the parties to accept service by fax
                                                      18                transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                        numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      19                of the record of the fax transmission is attached.

                                                      20                տ       f.       By messenger:

                                                      21                I served the document(s) by placing them in an envelope or package addressed to
                                                                        the persons at the addresses listed below and providing them to a messenger for
                                                      22                service.

                                                      23         I declare under penalty of perjury that the foregoing is true and correct.

                                                      24         Dated: August 18, 2022.
                                                                                                         By: /s/ Bart K. Larsen, Esq.
                                                      25

                                                      26

                                                      27

                                                      28


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                                         EXHIBIT 1
                                                            Case
                                                           Case  21-14486-abl Doc
                                                                21-14486-abl   Doc 97 Entered
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                                                       4
                                                       Entered on Docket
                                ___________________________________________________________________
                                    5October 15, 2021

                                                       6   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       7   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
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                                                      12   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14                             UNITED STATES BANKRUPTCY COURT
                                                      15                                      DISTRICT OF NEVADA
                                                      16   In re:
                                                                                                                    Case No. 21-14486-abl
                                                      17       INFINITY CAPITAL MANAGEMENT, INC.                    Chapter 7
                                                      18                          Debtor.
                                                                                                                    Date: October 12, 2021
                                                      19                                                            Time: 3:00 p.m.
                                                      20
                                                                ORDER GRANTING JOINT MOTION OF CHAPTER 7 TRUSTEE AND SECURED
                                                      21       CREDITOR HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                                  INTERNATIONAL SP TO APPROVE ABANDONMENT OF COLLATERAL
                                                      22
                                                                    The Joint Motion of Chapter 7 Trustee and Secured Creditor HASelect-Medical Receivables
                                                      23
                                                           Litigation Finance Fund International SP to Approve Abandonment of Collateral [ECF No. 12] (the
                                                      24
                                                           “Motion”) filed by Chapter 7 Trustee Robert E. Atkinson (“Trustee”) and HASelect-Medical
                                                      25
                                                           Receivables Litigation Finance Fund International SP (“HASelect”) came before the Court for
                                                      26
                                                           hearing on October 12, 2021. The Trustee appeared personally and through his counsel of record,
                                                      27
                                                           Clarisse L. Crisostomo, Esq. of the law firm of Atkinson Law Associates Ltd. HASelect appeared
                                                      28


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                                                           through its counsel of record, Bart K. Larsen, Esq. of the law firm of Shea Larsen. Debtor Infinity
                                                       2
                                                           Capital Management, Inc. (“Debtor” or “Infinity”) appeared through its counsel of record, Matthew
                                                       3
                                                           C. Zirzow, Esq. of the law firm of Larson & Zirzow. HealthPlus Imaging of Texas, LLC appeared
                                                       4
                                                           through its counsel of record, David Mincin, Esq. of the law firm of Mincin Law, PLLC and Jacob M.
                                                       5
                                                           Stephens, Esq. of the law firm of Irelan McDaniel, PLLC. Tecumseh – Infinity Medical Receivables
                                                       6
                                                           Fund, L.P. appeared through its counsel of record, Michael D. Napoli, Esq. of the law firm of Akerman
                                                       7
                                                           LLP.
                                                       8
                                                                  At the hearing, the Court heard argument and representations from counsel, deliberated
                                                       9
                                                           thereon, and then read its ruling into the record. All findings of fact and conclusions of law orally
                                                      10
                                                           stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as made
                                                      11
                                                           applicable to these proceedings via Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated on
              1731 Village Center Circle, Suite 150




                                                      12
                                                           the record by the Court at the hearing,
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                  IT IS HEREBY ORDERED:
                                                      14
                                                                  1.      The Motion is GRANTED;
                                                      15
                                                                  2.      The Trustee is hereby authorized and directed to abandon the Collateral (as defined
                                                      16
                                                           in the Motion) to HASelect;
                                                      17
                                                                  3.      The abandonment ordered and directed and relief granted herein shall specifically
                                                      18
                                                           exclude the non-Collateral Confidential Information (as defined in Party in Interest HealthPlus
                                                      19
                                                           Imaging of Texas, LLC’s (“HealthPlus”) Limited Objection to Chapter 7 Trustee and HASelect –
                                                      20
                                                           Medical Receivables Litigation Finance Fund International SP’s Joint Motion to Approve
                                                      21
                                                           Abandonment of Collateral [ECF No. 77] (“Limited Objection”)) in Debtor’s possession relating to
                                                      22
                                                           receivables owned by HealthPlus (and as identified in Exhibits A-1 and A2 of HealthPlus’ Limited
                                                      23
                                                           Objection);
                                                      24
                                                                  4.      The abandonment ordered and directed and relief granted herein shall specifically
                                                      25
                                                           exclude the Tecumseh Receivables as defined in Party in Interest Tecumseh – Infinity Medical
                                                      26
                                                           Receivable Fund, LP’s (“Tecumseh”) Objection to Joint Motion to Approve Abandonment of
                                                      27
                                                           Collateral [ECF No. 82] (“Tecumseh Objection”) and as identified in Exhibit A and, to the extent
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                                                       1
                                                           marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF No. 59] as well as any
                                                       2
                                                           records relating exclusively thereto or any proceeds thereof, and, to the extent that there are records
                                                       3
                                                           that relate both to the Collateral and to the Tecumseh Receivables, the Trustee will retain a copy of
                                                       4
                                                           such records pending further order of this Court;
                                                       5
                                                                  5.      This order shall not apply to the money in deposit accounts held in the name of the
                                                       6
                                                           Debtor on the Petition Date (which is now in the possession of the Trustee, and held in estate
                                                       7
                                                           accounts), and such funds shall not be deemed abandoned;
                                                       8
                                                                  6.      Infinity and its officers, directors, and agents shall promptly deliver or make available
                                                       9
                                                           to HASelect any and all Collateral that remains in their possession or control, including all copies
                                                      10
                                                           of physical documents and electronically stored information constituting Collateral, as well as any
                                                      11
                                                           and all such Collateral that may come into their possession or control in the future;
              1731 Village Center Circle, Suite 150




                                                      12
                                                                  7.      Infinity and its officers, directors, and agents shall reasonably cooperate with
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           HASelect in its efforts to locate and take possession or control of the Collateral and shall not impede
                                                      14
                                                           or otherwise interfere in such efforts in any way;
                                                      15
                                                                  8.      Any person that is or may come into possession of any of the Collateral is hereby
                                                      16
                                                           authorized and directed to turnover such Collateral to HASelect;
                                                      17
                                                                  9.      Any person obligated as to payment of any account receivable included in the
                                                      18
                                                           Collateral is hereby authorized and directed to remit payment when due directly to HASelect or its
                                                      19
                                                           designee at such location as HASelect may designate;
                                                      20
                                                                  10.     HASelect is authorized and entitled to endorse any check made payable to Infinity
                                                      21
                                                           relating to any account receivable included within the Collateral;
                                                      22
                                                                  11.     The Bankruptcy Court shall retain jurisdiction to interpret and enforce the provisions
                                                      23
                                                           of this Order; and
                                                      24
                                                                  12.     This Order shall take effect immediately upon entry and shall not be stayed pursuant
                                                      25
                                                           to Bankruptcy Rules 6004(h) or otherwise.
                                                      26
                                                                  IT IS SO ORDERED.
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                                                       2   Submitted by:

                                                       3   SHEA LARSEN

                                                       4   /s/ Bart K. Larsen, Esq.
                                                           Bart K. Larsen, Esq.
                                                       5   Nevada Bar No. 8538
                                                           1731 Village Center Circle, Suite 150
                                                       6   Las Vegas, Nevada 89134

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8

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              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                                       1                                     LR 9021 CERTIFICATION

                                                       2          In accordance with LR 9021, counsel submitting this document certifies that the order
                                                           accurately reflects the court’s ruling and that (check one):
                                                       3
                                                                  ‫܆‬      The court has waived the requirement set forth in LR 9021(b)(1).
                                                       4
                                                                  ‫܆‬      No party appeared at the hearing or filed an objection to the motion.
                                                       5
                                                                  ‫܈‬      I have delivered a copy of this proposed order to all counsel who appeared at the
                                                       6                 hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                                         approved or disapproved the order, or failed to respond, as indicated below [list
                                                       7                 each party and whether the party has approved, disapproved, or failed to respond to
                                                                         the document]:
                                                       8
                                                              Name                                         Approve             Reject          No Response
                                                       9
                                                              Robert E. Atkinson, Esq.                        ‫܈‬                  ‫܆‬                  ‫܆‬
                                                      10      Chapter 7 Trustee
                                                      11      Clarisse L. Crisostomo, Esq.                    ‫܈‬                  ‫܆‬                  ‫܆‬
                                                              Attorney for Chapter 7 Trustee
              1731 Village Center Circle, Suite 150




                                                      12
                                                              Matthew C. Zirzow, Esq.                         ‫܈‬                  ‫܆‬                  ‫܆‬
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13      Attorney for Debtor Infinity Capital
                        (702) 471-7432




                                                              Management, Inc.
                                                      14
                                                              Michael D. Napoli, Esq.                         ‫܈‬                  ‫܆‬                  ‫܆‬
                                                      15      Attorney for Tecumseh – Infinity
                                                              Medical Receivables Fund, L.P.
                                                      16
                                                              David Mincin, Esq.                              ‫܈‬                  ‫܆‬                  ‫܆‬
                                                      17      Jacob M. Stephens, Esq.
                                                              Attorneys for HealthPlus Imaging of
                                                      18      Texas, LLC
                                                      19
                                                                  ‫܆‬      I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                                      20                 order with the motion pursuant to LR 9014(g), and that no party has objected to the
                                                                         form or content of the order.
                                                      21
                                                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                      22
                                                                                                        /s/ Bart K. Larsen, Esq.
                                                      23                                                Bart K. Larsen, Esq.
                                                      24

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                                         EXHIBIT 2
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                                ___________________________________________________________________
                                    5October 21, 2021

                                                       6   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       7   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       8   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       9   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                      10   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                      11    kwyant@shea.law
              1731 Village Center Circle, Suite 150




                                                      12   Attorneys for HASelect-Medical
                                                           Receivables Litigation Finance Fund
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   International SP
                        (702) 471-7432




                                                                                    UNITED STATES BANKRUPTCY COURT
                                                      14
                                                                                               DISTRICT OF NEVADA
                                                      15
                                                           In re:
                                                      16                                                              Case No. 21-14486-abl
                                                                    INFINITY CAPITAL MANAGEMENT,                      Chapter 7
                                                      17            INC.
                                                                                                                      Date: October 12, 2021
                                                      18                          Debtor.                             Time: 3:00 p.m.
                                                      19

                                                      20            ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY

                                                      21            The Motion for Relief from Automatic Stay (the “Motion”) [ECF No. 17] filed by HASelect-

                                                      22   Medical Receivables Litigation Finance Fund International SP (“HASelect”) came before the Court

                                                      23   for hearing on October 12, 2021. HASelect appeared through its counsel of record, Bart K. Larsen,

                                                      24   Esq. of the law firm of Shea Larsen. The Chapter 7 Trustee Robert E. Atkinson, Esq. appeared

                                                      25   personally and through his counsel of record, Clarisse L. Crisostomo, Esq. of the law firm of Atkinson

                                                      26   Law Associates Ltd. Debtor Infinity Capital Management, Inc. (“Debtor” or “Infinity”) appeared

                                                      27   through its counsel of record, Matthew C. Zirzow, Esq. of the law firm of Larson & Zirzow.

                                                      28   HealthPlus Imaging of Texas, LLC appeared through its counsel of record, David Mincin, Esq. of the


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                                                           law firm of Mincin Law, PLLC and Jacob M. Stephens, Esq. of the law firm of Irelan McDaniel,
                                                       2
                                                           PLLC. Tecumseh – Infinity Medical Receivables Fund, L.P. appeared through its counsel of record,
                                                       3
                                                           Michael D. Napoli, Esq. of the law firm of Akerman LLP.
                                                       4
                                                                  At the hearing, the Court heard argument and representations from counsel, deliberated
                                                       5
                                                           thereon, and then read its ruling into the record. All findings of fact and conclusions of law orally
                                                       6
                                                           stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as made
                                                       7
                                                           applicable to these proceedings via Fed. R. Bankr. P. 9014(c) and 7052. For the reasons stated on
                                                       8
                                                           the record by the Court at the hearing,
                                                       9
                                                                  IT IS HEREBY ORDERED:
                                                      10
                                                                  1.      The Motion is GRANTED;
                                                      11
                                                                  2.      The automatic stay imposed under section 362(a) of the Bankruptcy Code shall
              1731 Village Center Circle, Suite 150




                                                      12
                                                           terminate, effective immediately upon the entry of this Order, as to the Collateral (as defined in the
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           Motion) to permit HASelect to immediately take possession and control of the Collateral, wherever
                                                      14
                                                           it may be located, and to otherwise enforce its security interest and rights in the Collateral consistent
                                                      15
                                                           with its rights under the MLA and applicable law;
                                                      16
                                                                  3.      The termination of the automatic stay ordered and directed and the relief granted
                                                      17
                                                           herein shall specifically exclude the non-Collateral Confidential Information (as defined in Party in
                                                      18
                                                           Interest HealthPlus Imaging of Texas, LLC’s (“HealthPlus”) Limited Objection to Chapter 7 Trustee
                                                      19
                                                           and HASelect – Medical Receivables Litigation Finance Fund International SP’s Joint Motion to
                                                      20
                                                           Approve Abandonment of Collateral [ECF No. 77] (“Limited Objection”)) in Debtor’s possession
                                                      21
                                                           relating to receivables owned by HealthPlus (and as identified in Exhibits A-1 and A2 of HealthPlus’
                                                      22
                                                           Limited Objection);
                                                      23
                                                                  4.      The termination of the automatic stay ordered and directed and the relief granted
                                                      24
                                                           herein shall specifically exclude the Tecumseh Receivables as defined in Party in Interest Tecumseh
                                                      25
                                                           – Infinity Medical Receivable Fund, LP’s (“Tecumseh”) Objection to Joint Motion to Approve
                                                      26
                                                           Abandonment of Collateral [ECF No. 82] (“Tecumseh Objection”) and as identified in Exhibit A
                                                      27
                                                           and, to the extent marked as assigned to Tecumseh, Exhibit B to the Meyer Declaration [ECF No.
                                                      28


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                                                           59] as well as any records relating exclusively thereto or any proceeds thereof, and, to the extent that
                                                       2
                                                           there are records that relate both to the Collateral and to the Tecumseh Receivables, the Trustee will
                                                       3
                                                           retain a copy of such records pending further order of this Court;
                                                       4
                                                                  5.      HASelect shall not, without further court order, take possession or control of the
                                                       5
                                                           money in deposit accounts held in the name of the Debtor on the Petition Date (which is now in the
                                                       6
                                                           possession of the Trustee, and held in estate accounts);
                                                       7
                                                                  6.      Infinity and its officers, directors, and agents shall promptly deliver or make available
                                                       8
                                                           to HASelect any and all Collateral that remains in their possession or control, including all copies
                                                       9
                                                           of physical documents and electronically stored information constituting Collateral, as well as any
                                                      10
                                                           and all such Collateral that may come into their possession or control in the future;
                                                      11
                                                                  7.      Infinity and its officers, directors, and agents shall reasonably cooperate with
              1731 Village Center Circle, Suite 150




                                                      12
                                                           HASelect in its efforts to locate and take possession or control of the Collateral and shall not impede
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           or otherwise interfere in such efforts in any way;
                                                      14
                                                                  8.      Any person that is or may come into possession of any of the Collateral is hereby
                                                      15
                                                           authorized and directed to turnover such Collateral to HASelect;
                                                      16
                                                                  9.      Any person obligated as to payment of any account receivable included in the
                                                      17
                                                           Collateral is hereby authorized and directed to remit payment when due directly to HASelect or its
                                                      18
                                                           designee at such location as HASelect may designate;
                                                      19
                                                                  10.     HASelect is authorized and entitled to endorse any check made payable to Infinity
                                                      20
                                                           relating to any account receivable included within the Collateral;
                                                      21
                                                                  11.     The Bankruptcy Court shall retain jurisdiction to interpret and enforce the provisions
                                                      22
                                                           of this Order; and
                                                      23
                                                                  12.     This Order shall take effect immediately upon entry and shall not be stayed pursuant
                                                      24
                                                           to Bankruptcy Rules 4001(a)(3) or otherwise.
                                                      25
                                                                  IT IS SO ORDERED.
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                                                       2    Prepared and Submitted:
                                                       3
                                                            /s/ Bart K. Larsen, Esq.
                                                       4    BART K. LARSEN, ESQ.
                                                            Nevada Bar No. 8538
                                                       5    SHEA LARSEN
                                                            1731 Village Center Circle, Suite 150
                                                       6    Las Vegas, Nevada 89134

                                                       7    Attorneys for HASelect-Medical Receivables
                                                            Litigation Finance Fund International SP
                                                       8

                                                       9

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              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                                       1                                     LR 9021 CERTIFICATION

                                                       2          In accordance with LR 9021, counsel submitting this document certifies that the order
                                                           accurately reflects the court’s ruling and that (check one):
                                                       3
                                                                  ‫܆‬      The court has waived the requirement set forth in LR 9021(b)(1).
                                                       4
                                                                  ‫܆‬      No party appeared at the hearing or filed an objection to the motion.
                                                       5
                                                                  ‫܈‬      I have delivered a copy of this proposed order to all counsel who appeared at the
                                                       6                 hearing, and any unrepresented parties who appeared at the hearing, and each has
                                                                         approved or disapproved the order, or failed to respond, as indicated below [list
                                                       7                 each party and whether the party has approved, disapproved, or failed to respond to
                                                                         the document]:
                                                       8
                                                              Name                                         Approve             Reject          No Response
                                                       9
                                                              Robert E. Atkinson, Esq.                        ‫܈‬                  ‫܆‬                  ‫܆‬
                                                      10      Chapter 7 Trustee
                                                      11      Clarisse L. Crisostomo, Esq.                    ‫܈‬                  ‫܆‬                  ‫܆‬
                                                              Attorney for Chapter 7 Trustee
              1731 Village Center Circle, Suite 150




                                                      12
                                                              Matthew C. Zirzow, Esq.                         ‫܈‬                  ‫܆‬                  ‫܆‬
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13      Attorney for Debtor Infinity Capital
                        (702) 471-7432




                                                              Management, Inc.
                                                      14
                                                              Michael D. Napoli, Esq.                         ‫܈‬                  ‫܆‬                  ‫܆‬
                                                      15      Attorney for Tecumseh – Infinity
                                                              Medical Receivables Fund, L.P.
                                                      16
                                                              David Mincin, Esq.                              ‫܈‬                  ‫܆‬                  ‫܆‬
                                                      17      Jacob M. Stephens, Esq.
                                                              Attorneys for HealthPlus Imaging of
                                                      18      Texas, LLC
                                                      19          ‫܆‬      I certify that this is a case under chapter 7 or 13, that I have served a copy of this
                                                                         order with the motion pursuant to LR 9014(g), and that no party has objected to the
                                                      20                 form or content of the order.
                                                      21          I declare under penalty of perjury that the foregoing is true and correct.
                                                      22                                                /s/ Bart K. Larsen, Esq.
                                                                                                        Bart K. Larsen, Esq.
                                                      23

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       Attorney for Robert E. Atkinson, Trustee
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    Motion´ VXEMHFWWRRYHUELGDWDXFWLRQSXUVXDQWWRFHUWDLQELGSURFHGXUHV ³Procedures´ 
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PatientID   ClaimId   AttorneyID   AttorneyFirstName   AttorneyLastName   Provider                                        BillId      PaidDate       BillCost        BillGFB
4596        9010      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17508     2019Ͳ12Ͳ06      $326.57        $1,246.60
4596        9010      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   23034     2019Ͳ12Ͳ06      $292.36        $1,116.00
4596        9010      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   23035     2019Ͳ12Ͳ06     $3,057.98      $11,673.00
4598        8916      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17505     2019Ͳ12Ͳ06      $326.57        $1,246.60
4598        8916      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17506     2019Ͳ12Ͳ06      $584.72        $2,232.00
4598        8916      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17507     2019Ͳ12Ͳ06     $6,115.95      $23,346.00
4618        8958      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17510     2019Ͳ12Ͳ06      $326.57        $1,246.60
4618        8958      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17511     2019Ͳ12Ͳ06      $343.64        $1,311.75
4618        8958      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17512     2019Ͳ12Ͳ06     $2,153.77       $8,221.45
4619        8960      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17513     2019Ͳ12Ͳ06      $326.57        $1,246.60
4619        8960      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17514     2019Ͳ12Ͳ06      $656.16        $2,504.70
4619        8960      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17515     2019Ͳ12Ͳ06     $2,627.04      $10,028.00
4640        9002      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17636     2019Ͳ12Ͳ06      $234.67         $895.80
4640        9002      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17637     2019Ͳ12Ͳ06     $2,121.70       $8,099.00
4640        9002      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17638     2019Ͳ12Ͳ06      $326.57        $1,246.60
4644        9012      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17516     2019Ͳ12Ͳ06        $88.37        $337.32
4644        9012      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17517     2019Ͳ12Ͳ06     $1,302.37       $4,971.45
4644        9012      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17518     2019Ͳ12Ͳ06      $326.57        $1,246.60
4645        9014      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17519     2019Ͳ12Ͳ06     $3,909.38      $14,923.00
4645        9014      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17520     2019Ͳ12Ͳ06      $307.83        $1,175.05
4645        9014      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17521     2019Ͳ12Ͳ06      $326.57        $1,246.60
4646        9016      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17522     2019Ͳ12Ͳ06      $183.38         $700.00
4646        9016      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17523     2019Ͳ12Ͳ06     $1,302.37       $4,971.45
4646        9016      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17524     2019Ͳ12Ͳ06      $343.64        $1,311.75
4647        9018      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17525     2019Ͳ12Ͳ06      $343.64        $1,311.75
4647        9018      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17526     2019Ͳ12Ͳ06      $326.57        $1,246.60
4647        9018      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17527     2019Ͳ12Ͳ06     $2,139.63       $8,167.45
4648        9020      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17528     2019Ͳ12Ͳ06      $326.57        $1,246.60
4649        9022      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17529     2019Ͳ12Ͳ06        $88.37        $337.32
4649        9022      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17530     2019Ͳ12Ͳ06      $326.57        $1,246.60
4649        9022      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17531     2019Ͳ12Ͳ06     $1,302.37       $4,971.45
4650        9024      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17532     2019Ͳ12Ͳ06     $2,153.77       $8,221.45
4650        9024      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17533     2019Ͳ12Ͳ06      $264.28        $1,008.81
4650        9024      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17534     2019Ͳ12Ͳ06      $183.38         $700.00
4650        9024      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17535     2019Ͳ12Ͳ06     $4,719.65      $18,016.00
4650        9024      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17536     2019Ͳ12Ͳ06      $441.20        $1,684.15
4650        9024      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17537     2019Ͳ12Ͳ06      $326.57        $1,246.60
4651        9026      731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17538     2019Ͳ12Ͳ06     $2,834.91      $10,821.52
4651        9026      731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17539     2019Ͳ12Ͳ06      $409.72        $1,564.00
4651        9026      731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17540     2019Ͳ12Ͳ06      $183.38         $700.00
4651        9122      731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17704     2020Ͳ03Ͳ17    $13,358.47      $38,167.05
4651        9122      731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17705     2020Ͳ03Ͳ17    $52,498.95     $149,997.00
4651        9122      731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17706     2020Ͳ03Ͳ17      $245.00         $700.00
4652        9028      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17541     2019Ͳ12Ͳ06     $4,719.65      $18,016.00
4652        9028      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17542     2019Ͳ12Ͳ06      $514.69        $1,964.70
4652        9028      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17543     2019Ͳ12Ͳ06      $183.38         $700.00
4653        9030      982          Angelas             Wike               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17544     2019Ͳ12Ͳ06     $2,164.92       $8,264.00
4653        9030      982          Angelas             Wike               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17545     2019Ͳ12Ͳ06      $332.16        $1,267.95
4653        9030      982          Angelas             Wike               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17546     2019Ͳ12Ͳ06      $326.43        $1,246.06
4654        9032      983          Kevin               Adley              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17547     2019Ͳ12Ͳ06     $6,967.35      $26,596.00
4654        9032      983          Kevin               Adley              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17548     2019Ͳ12Ͳ06     $3,909.38      $14,923.00
4655        9034      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17549     2019Ͳ12Ͳ06      $264.28        $1,008.81
4655        9036      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17550     2019Ͳ12Ͳ06     $2,153.77       $8,221.45
4655        9036      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17551     2019Ͳ12Ͳ06      $183.38         $700.00
4656        9038      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17552     2019Ͳ12Ͳ06     $2,153.77       $8,221.45
4656        9038      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17553     2019Ͳ12Ͳ06      $343.64        $1,311.75
4656        9038      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17554     2019Ͳ12Ͳ06      $326.57        $1,246.60
4657        9040      993          Ronald              Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17555     2019Ͳ12Ͳ06     $4,719.65      $18,016.00
4657        9040      993          Ronald              Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17556     2019Ͳ12Ͳ06      $514.69        $1,964.70
4657        9040      993          Ronald              Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17557     2019Ͳ12Ͳ06      $183.38         $700.00
4657        9040      993          Ronald              Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17733     2020Ͳ03Ͳ17     $5,168.10      $14,766.00
4657        9040      993          Ronald              Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17734     2020Ͳ03Ͳ17      $245.00         $700.00
4657        9040      993          Ronald              Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17735     2020Ͳ03Ͳ17     $1,825.15       $5,214.70
4658        9042      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17558     2019Ͳ12Ͳ06      $326.57        $1,246.60
4658        9042      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17559     2019Ͳ12Ͳ06     $5,430.11      $20,728.00
4658        9042      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17560     2019Ͳ12Ͳ06     $1,301.91       $4,969.70
4659        9044      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17561     2019Ͳ12Ͳ06      $343.64        $1,311.75
4659        9044      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17562     2019Ͳ12Ͳ06     $1,302.37       $4,971.45
4659        9044      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17563     2019Ͳ12Ͳ06      $326.57        $1,246.60
4660        9046      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17564     2019Ͳ12Ͳ06      $326.57        $1,246.60
4660        9046      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17565     2019Ͳ12Ͳ06      $292.36        $1,116.00
4660        9046      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17566     2019Ͳ12Ͳ06     $3,057.98      $11,673.00
4661        9048      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17567     2019Ͳ12Ͳ06     $6,967.35      $26,596.00
4661        9048      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17568     2019Ͳ12Ͳ06      $326.57        $1,246.60
4661        9048      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17569     2019Ͳ12Ͳ06      $549.57        $2,096.64
4662        9050      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17570     2019Ͳ12Ͳ06      $326.57        $1,246.60
4663        9052      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17571     2019Ͳ12Ͳ06      $326.57        $1,246.60
4663        9052      981          David               Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17572     2019Ͳ12Ͳ06      $343.64        $1,311.75
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PatientID   ClaimId   AttorneyID   AttorneyFirstName    AttorneyLastName   Provider                                        BillId      PaidDate      BillCost       BillGFB
4663        9052      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17573     2019Ͳ12Ͳ06    $2,153.77      $8,221.45
4664        9054      984          Jon                  Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17574     2019Ͳ12Ͳ06     $326.57       $1,246.60
4664        9054      984          Jon                  Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17575     2019Ͳ12Ͳ06     $343.64       $1,311.75
4664        9054      984          Jon                  Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17576     2019Ͳ12Ͳ06    $2,153.77      $8,221.45
4665        9056      986          JuanC.              Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17577     2019Ͳ12Ͳ06    $3,909.38     $14,923.00
4666        9058      987          Natalie              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17578     2019Ͳ12Ͳ06    $3,909.38     $14,923.00
4666        9058      987          Natalie              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17579     2019Ͳ12Ͳ06     $274.63       $1,048.32
4666        9058      987          Natalie              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17580     2019Ͳ12Ͳ06     $183.38        $700.00
4666        9058      987          Natalie              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17764     2020Ͳ03Ͳ17    $5,223.05     $14,923.00
4666        9058      987          Natalie              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17765     2020Ͳ03Ͳ17     $245.00        $700.00
4666        9058      987          Natalie              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17766     2020Ͳ03Ͳ17     $366.91       $1,048.32
4667        9060      985          E.Nadia             Sifuentes          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17582     2019Ͳ12Ͳ06    $3,909.38     $14,923.00
4667        9060      985          E.Nadia             Sifuentes          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17583     2019Ͳ12Ͳ06     $274.63       $1,048.32
4667        9060      985          E.Nadia             Sifuentes          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17584     2019Ͳ12Ͳ06     $183.38        $700.00
4668        9062      856          GregoryP.           Lee                PrevaAdvancedSurgicareͲTheWoodlandsLLC   17585     2019Ͳ12Ͳ06    $2,853.43     $10,892.20
4668        9062      856          GregoryP.           Lee                PrevaAdvancedSurgicareͲTheWoodlandsLLC   17586     2019Ͳ12Ͳ06     $183.38        $700.00
4668        9062      856          GregoryP.           Lee                PrevaAdvancedSurgicareͲTheWoodlandsLLC   17587     2019Ͳ12Ͳ06     $487.00       $1,859.00
4669        9064      988          Kevin                Forsberg           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17588     2019Ͳ12Ͳ06    $2,787.94     $10,642.20
4669        9064      988          Kevin                Forsberg           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17589     2019Ͳ12Ͳ06    $3,909.38     $14,923.00
4670        9066      1240         TheNMWLawFirm                        PrevaAdvancedSurgicareͲTheWoodlandsLLC   17590     2019Ͳ12Ͳ06    $6,340.83     $24,204.40
4670        9066      1240         TheNMWLawFirm                        PrevaAdvancedSurgicareͲTheWoodlandsLLC   17591     2019Ͳ12Ͳ06     $725.77       $2,770.44
4670        9066      1240         TheNMWLawFirm                        PrevaAdvancedSurgicareͲTheWoodlandsLLC   17592     2019Ͳ12Ͳ06     $183.38        $700.00
4671        9068      829          Abraham              Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17593     2019Ͳ12Ͳ06     $434.13       $1,657.19
4671        9068      829          Abraham              Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17594     2019Ͳ12Ͳ06    $4,617.10     $17,624.55
4671        9068      829          Abraham              Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17595     2019Ͳ12Ͳ06     $183.38        $700.00
4676        9078      603          Sharon               SimmonsͲCantrell   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17623     2019Ͳ12Ͳ06    $2,164.92      $8,264.00
4677        9080      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17624     2019Ͳ12Ͳ06     $618.41       $2,360.60
4677        9080      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17625     2019Ͳ12Ͳ06    $2,715.06     $10,364.00
4677        9080      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17626     2019Ͳ12Ͳ06     $326.57       $1,246.60
4678        9082      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17627     2019Ͳ12Ͳ06     $326.57       $1,246.60
4678        9082      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17628     2019Ͳ12Ͳ06    $2,715.06     $10,364.00
4678        9082      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17629     2019Ͳ12Ͳ06     $618.67       $2,361.60
4679        9084      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17630     2019Ͳ12Ͳ06     $264.28       $1,008.81
4679        9084      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17631     2019Ͳ12Ͳ06    $2,153.77      $8,221.45
4679        9084      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17632     2019Ͳ12Ͳ06     $326.57       $1,246.60
4680        9086      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17633     2019Ͳ12Ͳ06     $264.28       $1,008.81
4680        9086      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17634     2019Ͳ12Ͳ06    $2,153.77      $8,221.45
4680        9086      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17635     2019Ͳ12Ͳ06     $326.57       $1,246.60
4681        9088      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17642     2019Ͳ12Ͳ06     $323.34       $1,235.25
4681        9088      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17670     2019Ͳ12Ͳ06    $2,230.41      $8,514.00
4681        9088      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17671     2019Ͳ12Ͳ06     $183.38        $700.00
4682        9090      994          Richard              Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17643     2019Ͳ12Ͳ06     $183.38        $700.00
4682        9090      994          Richard              Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17644     2019Ͳ12Ͳ06     $274.63       $1,048.32
4682        9090      994          Richard              Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17645     2019Ͳ12Ͳ06    $3,909.38     $14,923.00
4684        9094      997          Patrick              Scott              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17651     2019Ͳ12Ͳ06    $1,843.16      $7,035.76
4685        9096      998          John                 Vong               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17652     2019Ͳ12Ͳ06    $2,164.92      $8,264.00
4686        9098      999          James                Tittle             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17653     2019Ͳ12Ͳ06    $2,164.92      $8,264.00
4687        9100      1255         Simmons&Fletcher                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17654     2019Ͳ12Ͳ06    $3,932.96     $15,013.00
4687        9100      1255         Simmons&Fletcher                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17655     2019Ͳ12Ͳ06     $274.63       $1,048.32
4687        9100      1255         Simmons&Fletcher                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17656     2019Ͳ12Ͳ06     $183.38        $700.00
4688        9102      1226         Adame&Associates                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17657     2019Ͳ12Ͳ06     $183.38        $700.00
4688        9102      1226         Adame&Associates                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17658     2019Ͳ12Ͳ06     $274.63       $1,048.32
4688        9102      1226         Adame&Associates                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17659     2019Ͳ12Ͳ06    $3,909.38     $14,923.00
4688        9102      1226         Adame&Associates                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17660     2019Ͳ12Ͳ06    $3,057.98     $11,673.00
4688        9102      1226         Adame&Associates                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17661     2019Ͳ12Ͳ06     $183.38        $700.00
4688        9102      1226         Adame&Associates                      PrevaAdvancedSurgicareͲTheWoodlandsLLC   17662     2019Ͳ12Ͳ06     $274.63       $1,048.32
4689        9104      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17663     2019Ͳ12Ͳ06    $2,230.41      $8,514.00
4689        9104      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17664     2019Ͳ12Ͳ06     $183.38        $700.00
4689        9104      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17665     2019Ͳ12Ͳ06     $323.60       $1,235.25
4690        9106      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17666     2019Ͳ12Ͳ06    $8,436.80     $32,205.20
4691        9108      1173         Smith&Hassler                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   17667     2019Ͳ12Ͳ06     $514.69       $1,964.70
4691        9108      1173         Smith&Hassler                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   17668     2019Ͳ12Ͳ06     $183.38        $700.00
4691        9108      1173         Smith&Hassler                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   17669     2019Ͳ12Ͳ06    $4,719.65     $18,016.00
4692        9110      1162         JenniferB.          Lemaster           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17672     2020Ͳ03Ͳ17     $245.00        $700.00
4692        9110      1162         JenniferB.          Lemaster           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17673     2020Ͳ03Ͳ17     $479.17       $1,369.05
4692        9110      1162         JenniferB.          Lemaster           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17674     2020Ͳ03Ͳ17    $3,446.08      $9,845.95
4693        9112      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17675     2020Ͳ03Ͳ17    $6,305.60     $18,016.00
4693        9112      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17676     2020Ͳ03Ͳ17     $245.00        $700.00
4693        9112      731          DavidW.             Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17677     2020Ͳ03Ͳ17     $687.65       $1,964.70
4694        9114      625          StewartJ.           Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17678     2020Ͳ03Ͳ17     $366.91       $1,048.32
4694        9114      625          StewartJ.           Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17679     2020Ͳ03Ͳ17    $2,254.14      $6,440.41
4694        9114      625          StewartJ.           Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17680     2020Ͳ03Ͳ17     $245.00        $700.00
4694        9114      625          StewartJ.           Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17681     2020Ͳ03Ͳ17     $366.91       $1,048.32
4694        9114      625          StewartJ.           Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17682     2020Ͳ03Ͳ17    $2,254.14      $6,440.41
4694        9114      625          StewartJ.           Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17683     2020Ͳ03Ͳ17     $245.00        $700.00
4695        9116      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17689     2020Ͳ03Ͳ17    $4,462.52     $12,750.05
4695        9116      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17690     2020Ͳ03Ͳ17     $245.00        $700.00
4695        9116      981          David                Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17691     2020Ͳ03Ͳ17     $453.93       $1,296.95
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4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17692     2020Ͳ03Ͳ17     $484.72       $1,384.92
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17693     2020Ͳ03Ͳ17    $4,804.52     $13,727.20
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17694     2020Ͳ03Ͳ17     $245.00        $700.00
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17695     2020Ͳ03Ͳ17     $687.65       $1,964.70
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17696     2020Ͳ03Ͳ17    $3,336.69      $9,533.41
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17697     2020Ͳ03Ͳ17     $245.00        $700.00
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17698     2020Ͳ03Ͳ17     $687.65       $1,964.70
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17699     2020Ͳ03Ͳ17    $4,474.19     $12,783.41
4696        9118      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17700     2020Ͳ03Ͳ17     $245.00        $700.00
4697        9120      1163         Matthew               Moore              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17701     2020Ͳ03Ͳ17     $245.00        $700.00
4697        9120      1163         Matthew               Moore              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17702     2020Ͳ03Ͳ17     $650.65       $1,859.00
4697        9120      1163         Matthew               Moore              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17703     2020Ͳ03Ͳ17    $2,674.77      $7,642.20
4698        9124      1164         Jason                 Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17707     2020Ͳ03Ͳ17     $245.00        $700.00
4698        9124      1164         Jason                 Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17708     2020Ͳ03Ͳ17     $453.93       $1,296.95
4698        9124      1164         Jason                 Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17709     2020Ͳ03Ͳ17    $4,462.52     $12,750.05
4699        9126      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17710     2020Ͳ03Ͳ17     $245.00        $700.00
4699        9126      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17711     2020Ͳ03Ͳ17     $353.08       $1,008.81
4699        9126      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17712     2020Ͳ03Ͳ17    $2,877.51      $8,221.45
4700        9128      1173         Smith&Hassler                          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17713     2020Ͳ03Ͳ17     $245.00        $700.00
4700        9128      1173         Smith&Hassler                          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17714     2020Ͳ03Ͳ17     $687.65       $1,964.70
4700        9128      1173         Smith&Hassler                          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17715     2020Ͳ03Ͳ17    $4,474.19     $12,783.41
4701        9130      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17716     2020Ͳ03Ͳ17     $245.00        $700.00
4701        9130      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17717     2020Ͳ03Ͳ17     $658.42       $1,881.21
4701        9130      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17718     2020Ͳ03Ͳ17    $5,636.89     $16,105.40
4702        9132      826          MiguelA.             Adame              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17719     2020Ͳ03Ͳ17    $1,375.29      $3,929.40
4702        9132      826          MiguelA.             Adame              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17720     2020Ͳ03Ͳ17    $7,810.89     $22,316.82
4702        9132      826          MiguelA.             Adame              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17721     2020Ͳ03Ͳ17     $245.00        $700.00
4702        9132      826          MiguelA.             Adame              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22319     2020Ͳ04Ͳ20    $6,873.58     $22,316.82
4702        9132      826          MiguelA.             Adame              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22320     2020Ͳ04Ͳ20    $5,989.98     $19,448.00
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17722     2020Ͳ03Ͳ17     $245.00        $700.00
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17723     2020Ͳ03Ͳ17     $687.65       $1,964.70
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17724     2020Ͳ03Ͳ17    $3,336.69      $9,533.41
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17725     2020Ͳ03Ͳ17     $687.65       $1,964.70
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17726     2020Ͳ03Ͳ17    $4,474.19     $12,783.41
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17727     2020Ͳ03Ͳ17    $3,684.80     $10,528.00
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17728     2020Ͳ03Ͳ17     $245.00        $700.00
4703        9134      1165         CraigS.              Leydecker          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17729     2020Ͳ03Ͳ17     $864.68       $2,470.50
4704        9136      1167         BradG.               Leigh              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17730     2020Ͳ03Ͳ17     $245.00        $700.00
4704        9136      1167         BradG.               Leigh              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17731     2020Ͳ03Ͳ17     $353.08       $1,008.81
4704        9136      1167         BradG.               Leigh              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17732     2020Ͳ03Ͳ17    $2,877.51      $8,221.45
4705        9138      1168         Farrah                Martinez           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17736     2020Ͳ03Ͳ17     $245.00        $700.00
4705        9138      1168         Farrah                Martinez           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17737     2020Ͳ03Ͳ17     $650.65       $1,859.00
4705        9138      1168         Farrah                Martinez           PrevaAdvancedSurgicareͲTheWoodlandsLLC   17738     2020Ͳ03Ͳ17    $3,812.27     $10,892.20
4706        9140      876          DavidAziel           Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17739     2020Ͳ03Ͳ17     $245.00        $700.00
4706        9140      876          DavidAziel           Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17740     2020Ͳ03Ͳ17     $650.65       $1,859.00
4706        9140      876          DavidAziel           Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17741     2020Ͳ03Ͳ17    $3,812.27     $10,892.20
4708        9144      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17767     2020Ͳ03Ͳ17    $5,600.02     $16,000.05
4708        9144      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17768     2020Ͳ03Ͳ17     $245.00        $700.00
4708        9144      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17769     2020Ͳ03Ͳ17     $453.94       $1,296.96
4709        9146      1173         Smith&Hassler                          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17770     2020Ͳ03Ͳ17     $245.00        $700.00
4709        9146      1173         Smith&Hassler                          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17771     2020Ͳ03Ͳ17     $687.65       $1,964.70
4709        9146      1173         Smith&Hassler                          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17772     2020Ͳ03Ͳ17    $4,474.19     $12,783.41
4710        9148      984          Jon                   Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17774     2020Ͳ03Ͳ17     $580.02       $1,657.19
4710        9148      984          Jon                   Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17775     2020Ͳ03Ͳ17    $6,168.59     $17,624.55
4710        9148      984          Jon                   Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   17776     2020Ͳ03Ͳ17     $245.00        $700.00
4712        9152      876          DavidAziel           Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17780     2020Ͳ03Ͳ17     $245.00        $700.00
4712        9152      876          DavidAziel           Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17781     2020Ͳ03Ͳ17     $650.65       $1,859.00
4712        9152      876          DavidAziel           Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17782     2020Ͳ03Ͳ17    $2,875.54     $10,892.20
4713        9154      1172         JeffG.W.            Kemp               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17783     2020Ͳ03Ͳ17     $245.00        $700.00
4713        9154      1172         JeffG.W.            Kemp               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17784     2020Ͳ03Ͳ17     $687.65       $1,964.70
4713        9154      1172         JeffG.W.            Kemp               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17785     2020Ͳ03Ͳ17    $4,474.19     $12,783.41
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17786     2020Ͳ03Ͳ17     $231.00        $700.00
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17787     2020Ͳ03Ͳ17     $418.29       $1,195.12
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17788     2020Ͳ03Ͳ17    $5,172.02     $14,777.20
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17789     2020Ͳ03Ͳ17    $4,735.92     $13,531.20
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17790     2020Ͳ03Ͳ17     $658.42       $1,881.21
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17791     2020Ͳ03Ͳ17    $4,499.39     $12,855.40
4714        9156      1171         LedgerKetchum&Cohoo                   PrevaAdvancedSurgicareͲTheWoodlandsLLC   17792     2020Ͳ03Ͳ17     $231.00        $700.00
4715        9158      710          Jim                   Adler              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17793     2020Ͳ03Ͳ17     $650.65       $1,859.00
4715        9158      710          Jim                   Adler              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17794     2020Ͳ03Ͳ17    $2,674.77      $7,642.20
4715        9158      710          Jim                   Adler              PrevaAdvancedSurgicareͲTheWoodlandsLLC   17795     2020Ͳ03Ͳ17     $245.00        $700.00
4716        9160      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17796     2020Ͳ03Ͳ17     $432.34       $1,235.25
4716        9160      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17797     2020Ͳ03Ͳ17    $1,842.40      $5,264.00
4716        9160      625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   17798     2020Ͳ03Ͳ17     $245.00        $700.00
4717        9162      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17799     2020Ͳ03Ͳ17     $245.00        $700.00
4717        9162      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17800     2020Ͳ03Ͳ17     $453.93       $1,296.95
4717        9162      981          David                 Pettus             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17801     2020Ͳ03Ͳ17    $5,600.02     $16,000.05
4718        9164      829          Abraham               Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17802     2020Ͳ03Ͳ17    $5,168.10     $14,766.00
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4718        9164      829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17803     2020Ͳ03Ͳ17      $245.00         $700.00
4718        9164      829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17804     2020Ͳ03Ͳ17      $687.65        $1,964.70
4719        9166      1089         KarlR.             Schneider          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17805     2020Ͳ03Ͳ17      $245.00         $700.00
4719        9166      1089         KarlR.             Schneider          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17806     2020Ͳ03Ͳ17      $353.08        $1,008.81
4719        9166      1089         KarlR.             Schneider          PrevaAdvancedSurgicareͲTheWoodlandsLLC   17807     2020Ͳ03Ͳ17     $1,740.01       $4,971.45
4720        9168      895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17808     2020Ͳ03Ͳ17      $453.93        $1,296.95
4720        9168      895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17809     2020Ͳ03Ͳ17     $5,600.02      $16,000.05
4720        9168      895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17810     2020Ͳ03Ͳ17     $7,112.55      $20,321.57
4720        9168      895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17811     2020Ͳ03Ͳ17      $245.00         $700.00
4720        9168      895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17812     2020Ͳ03Ͳ17     $1,001.33       $2,860.95
4720        9168      895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   17813     2020Ͳ03Ͳ17      $245.00         $700.00
8000        15849     1164         Jason               Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22257     2020Ͳ04Ͳ20     $2,532.21       $8,221.45
8042        15935     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22307     2020Ͳ04Ͳ20     $6,719.09      $21,815.24
8042        15935     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22308     2020Ͳ04Ͳ20     $8,919.93      $28,960.80
8050        15953     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22318     2020Ͳ04Ͳ20     $1,998.70       $6,489.28
8051        15955     1852         BradleyL.          Leger              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22321     2020Ͳ04Ͳ20     $3,354.80      $10,892.20
8052        15957     1853         PatrickM.         Primavera          PrevaAdvancedSurgicareͲTheWoodlandsLLC   22322     2020Ͳ04Ͳ20     $3,354.80      $10,892.20
8059        15971     1167         BradG.             Leigh              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22329     2020Ͳ04Ͳ20     $2,532.21       $8,221.45
8059        15971     1167         BradG.             Leigh              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22330     2020Ͳ04Ͳ20     $2,532.21       $8,221.45
8085        16029     994          Richard             Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22360     2020Ͳ04Ͳ20     $5,708.60      $18,534.40
8087        16035     1857         BennieD.           Rush               PrevaAdvancedSurgicareͲTheWoodlandsLLC   22363     2020Ͳ04Ͳ20     $3,354.80      $10,892.20
8092        16045     1004         ShaneR.            Kadlec             PrevaAdvancedSurgicareͲTheWoodlandsLLC   22368     2020Ͳ04Ͳ20     $2,353.80       $7,642.20
8096        16053     1858         ManceM.            Park               PrevaAdvancedSurgicareͲTheWoodlandsLLC   22372     2020Ͳ04Ͳ20    $11,362.22      $36,890.32
8100        16061     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   22376     2020Ͳ04Ͳ20    $79,165.06     $262,483.95
8100        16061     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   22377     2020Ͳ04Ͳ20    $40,895.44     $132,777.40
8101        16063     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22378     2020Ͳ04Ͳ20     $2,532.21       $8,221.45
8101        16063     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22379     2020Ͳ04Ͳ20     $2,532.21       $8,221.45
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PatientID   ClaimId   AttorneyID   AttorneyFirstName   AttorneyLastName   Provider                                        BillId     PaidDate     BillCost       BillGFB
4711        9150      1173         Smith&Hassler                        PrevaAdvancedSurgicareͲTheWoodlandsLLC   24851     2020Ͳ08Ͳ14   $1,700.27     $6,440.41
4711        9150      1173         Smith&Hassler                        PrevaAdvancedSurgicareͲTheWoodlandsLLC   30553     2021Ͳ04Ͳ15    $780.00          $0.00
7977        15801     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24849     2020Ͳ08Ͳ14    $184.80       $700.00
7977        15801     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24850     2020Ͳ08Ͳ14    $266.33      $1,008.81
8053        15959     994          Richard             Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22509     2020Ͳ06Ͳ09   $2,875.54    $10,892.20
8102        16065     1182         CoreyS.            Gomel              PrevaAdvancedSurgicareͲTheWoodlandsLLC   22511     2020Ͳ06Ͳ09   $4,258.54    $16,130.82
8102        16065     1182         CoreyS.            Gomel              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28374     2020Ͳ12Ͳ23   $4,205.52    $15,930.00
8172        16219     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22469     2020Ͳ06Ͳ09   $2,170.46     $8,221.45
8172        16219     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24765     2020Ͳ08Ͳ14   $4,660.45    $17,653.24
8172        16219     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24766     2020Ͳ08Ͳ14    $734.57      $2,782.44
8172        16219     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24839     2020Ͳ08Ͳ14    $342.40      $1,296.95
8172        16219     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24840     2020Ͳ08Ͳ14   $1,713.17     $6,489.28
8173        16221     1638         N/A                                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   22470     2020Ͳ06Ͳ09   $3,374.82    $12,783.41
8177        16229     726          DavidR.            Feldman            PrevaAdvancedSurgicareͲTheWoodlandsLLC   22474     2020Ͳ06Ͳ09   $2,875.54    $10,892.20
8219        16313     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22522     2020Ͳ06Ͳ09   $1,858.55     $7,039.96
8219        16313     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22523     2020Ͳ06Ͳ09    $266.33      $1,008.81
8219        16313     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22524     2020Ͳ06Ͳ09   $3,482.93    $13,192.90
8219        16313     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22525     2020Ͳ06Ͳ09    $184.80       $700.00
8222        16319     1859         W.Brett            Cain               PrevaAdvancedSurgicareͲTheWoodlandsLLC   22528     2020Ͳ06Ͳ09   $3,374.82    $12,783.41
8224        16323     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22530     2020Ͳ06Ͳ09   $3,374.82    $12,783.41
8224        16323     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24774     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
8224        16323     1863         MatthewR.          Birdwell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24775     2020Ͳ08Ͳ14   $1,858.55     $7,039.96
8226        16327     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22532     2020Ͳ06Ͳ09   $1,858.55     $7,039.96
8226        16327     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   27073     2020Ͳ10Ͳ26   $2,531.76     $9,590.00
8229        16333     1638         N/A                                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   22535     2020Ͳ06Ͳ09   $3,374.82    $12,783.41
8229        16333     1638         N/A                                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   24781     2020Ͳ08Ͳ14   $6,389.96    $24,204.40
8230        16335     625          StewartJ.          Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   22536     2020Ͳ06Ͳ09   $2,875.54    $10,892.20
8230        16335     625          StewartJ.          Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   24783     2020Ͳ08Ͳ14   $2,558.27     $9,690.41
8230        16335     625          StewartJ.          Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   30550     2021Ͳ04Ͳ15    $780.00          $0.00
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22546     2020Ͳ06Ͳ09   $2,856.88    $10,821.52
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22547     2020Ͳ06Ͳ09    $206.45       $782.00
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22548     2020Ͳ06Ͳ09    $184.80       $700.00
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22549     2020Ͳ06Ͳ09   $1,857.44     $7,035.76
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   24793     2020Ͳ08Ͳ14    $184.80       $700.00
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   24794     2020Ͳ08Ͳ14    $992.98      $3,761.28
8240        16355     1240         TheNMWLawFirm                       PrevaAdvancedSurgicareͲTheWoodlandsLLC   24795     2020Ͳ08Ͳ14   $7,645.66    $28,960.80
8241        16357     635          ThomasF.           Bickham,Jr.       PrevaAdvancedSurgicareͲTheWoodlandsLLC   22550     2020Ͳ06Ͳ09   $3,374.82    $12,783.41
8241        16357     635          ThomasF.           Bickham,Jr.       PrevaAdvancedSurgicareͲTheWoodlandsLLC   24799     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
8241        16357     635          ThomasF.           Bickham,Jr.       PrevaAdvancedSurgicareͲTheWoodlandsLLC   30552     2021Ͳ04Ͳ15    $660.00          $0.00
8242        16359     1638         N/A                                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   22551     2020Ͳ06Ͳ09   $4,258.54    $16,130.82
8243        16361     1638         N/A                                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   22552     2020Ͳ06Ͳ09   $3,637.39    $13,778.00
8244        16363     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22553     2020Ͳ06Ͳ09   $3,637.39    $13,778.00
8244        16363     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22554     2020Ͳ06Ͳ09   $4,893.08    $18,534.40
8244        16363     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24782     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
8244        16363     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   30549     2021Ͳ04Ͳ15    $480.00          $0.00
8245        16365     1865         Bergquist           LawFirm           PrevaAdvancedSurgicareͲTheWoodlandsLLC   22555     2020Ͳ06Ͳ09   $3,374.82    $12,783.41
9656        19439     916          Stephanie           Hay                PrevaAdvancedSurgicareͲTheWoodlandsLLC   24743     2020Ͳ08Ͳ14   $1,681.67     $6,369.95
9656        19439     916          Stephanie           Hay                PrevaAdvancedSurgicareͲTheWoodlandsLLC   30155     2021Ͳ04Ͳ15    $465.47          $0.00
9657        19441     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   24744     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
9657        19441     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   24745     2020Ͳ08Ͳ14    $518.68      $1,964.70
9657        19441     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   24746     2020Ͳ08Ͳ14    $184.80       $700.00
9657        19441     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   27071     2020Ͳ10Ͳ26   $3,374.82    $12,783.41
9658        19443     625          StewartJ.          Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   24754     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
9658        19443     625          StewartJ.          Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   30224     2021Ͳ04Ͳ15    $600.00          $0.00
9660        19447     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24760     2020Ͳ08Ͳ14    $184.80       $700.00
9660        19447     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24761     2020Ͳ08Ͳ14   $1,858.55     $7,039.96
9660        19447     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24762     2020Ͳ08Ͳ14    $266.33      $1,008.81
9661        19449     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24763     2020Ͳ08Ͳ14   $2,558.27     $9,690.41
9661        19449     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   25334     2020Ͳ09Ͳ18   $3,623.98    $13,727.20
9661        19449     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   30543     2021Ͳ04Ͳ15    $420.00          $0.00
9662        19451     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24764     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
9662        19451     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   25336     2020Ͳ09Ͳ18   $3,374.82    $12,783.41
9662        21920     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   30139     2021Ͳ04Ͳ15   $7,553.04    $28,610.00
9663        19453     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24767     2020Ͳ08Ͳ14   $2,875.54    $10,892.20
9663        19453     731          DavidW.            Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   30544     2021Ͳ04Ͳ15    $600.00          $0.00
9664        19455     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24768     2020Ͳ08Ͳ14   $2,875.54    $10,892.20
9664        19455     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24769     2020Ͳ08Ͳ14   $4,660.45    $17,653.24
9664        21325     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   29072     2021Ͳ02Ͳ11   $3,880.80    $14,700.00
9665        19457     985          E.Nadia            Sifuentes          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24770     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
9665        19457     985          E.Nadia            Sifuentes          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24771     2020Ͳ08Ͳ14   $4,893.08    $18,534.40
9665        19457     985          E.Nadia            Sifuentes          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24843     2020Ͳ08Ͳ14   $2,516.82     $9,533.41
9666        19459     1991         RyanM.             Snider             PrevaAdvancedSurgicareͲTheWoodlandsLLC   24772     2020Ͳ08Ͳ14   $2,875.54    $10,892.20
9666        19459     1991         RyanM.             Snider             PrevaAdvancedSurgicareͲTheWoodlandsLLC   30545     2021Ͳ04Ͳ15    $780.00          $0.00
9667        19461     1121         MichaelJ.          Lowenberg          PrevaAdvancedSurgicareͲTheWoodlandsLLC   24773     2020Ͳ08Ͳ14   $4,258.54    $16,130.82
9667        19461     1121         MichaelJ.          Lowenberg          PrevaAdvancedSurgicareͲTheWoodlandsLLC   30547     2021Ͳ04Ͳ15    $720.00          $0.00
9668        19463     916          Stephanie           Hay                PrevaAdvancedSurgicareͲTheWoodlandsLLC   24776     2020Ͳ08Ͳ14   $4,893.08    $18,534.40
9669        19465     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24777     2020Ͳ08Ͳ14    $184.80       $700.00
9669        19465     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24778     2020Ͳ08Ͳ14   $1,858.55     $7,039.96
9669        19465     609          NicholasM.         Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24779     2020Ͳ08Ͳ14    $266.33      $1,008.81
9670        19467     829          Abraham             Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   24780     2020Ͳ08Ͳ14   $5,891.64    $22,316.82
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PatientID   ClaimId   AttorneyID   AttorneyFirstName     AttorneyLastName   Provider                                        BillId     PaidDate     BillCost       BillGFB
9670        19467     829          Abraham               Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   30548     2021Ͳ04Ͳ15    $600.00          $0.00
9671        19469     609          NicholasM.           Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24784     2020Ͳ08Ͳ14   $1,857.44     $7,035.76
9671        19469     609          NicholasM.           Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24785     2020Ͳ08Ͳ14    $206.45       $782.00
9671        19469     609          NicholasM.           Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24786     2020Ͳ08Ͳ14    $184.80       $700.00
9671        19469     609          NicholasM.           Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24787     2020Ͳ08Ͳ14   $1,857.44     $7,035.76
9671        19469     609          NicholasM.           Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24788     2020Ͳ08Ͳ14    $206.45       $782.00
9671        19469     609          NicholasM.           Wills              PrevaAdvancedSurgicareͲTheWoodlandsLLC   24789     2020Ͳ08Ͳ14    $184.80       $700.00
9675        19477     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   24797     2020Ͳ08Ͳ14   $2,875.54    $10,892.20
9675        19477     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   30551     2021Ͳ04Ͳ15    $780.00          $0.00
9676        19479     1992         Abraham,Watkins,Nic                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   24798     2020Ͳ08Ͳ14   $7,645.66    $28,960.80
9676        19479     1992         Abraham,Watkins,Nic                    PrevaAdvancedSurgicareͲTheWoodlandsLLC   25360     2020Ͳ09Ͳ18   $8,002.48    $30,312.40
9677        19481     1240         TheNMWLawFirm                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   24800     2020Ͳ08Ͳ14    $184.80       $700.00
9677        19481     1240         TheNMWLawFirm                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   24801     2020Ͳ08Ͳ14    $266.33      $1,008.81
9677        19481     1240         TheNMWLawFirm                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   24802     2020Ͳ08Ͳ14   $1,858.55     $7,039.96
9679        19485     1240         TheNMWLawFirm                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   24833     2020Ͳ08Ͳ14    $184.80       $700.00
9679        19485     1240         TheNMWLawFirm                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   24837     2020Ͳ08Ͳ14    $266.33      $1,008.81
9679        19485     1240         TheNMWLawFirm                         PrevaAdvancedSurgicareͲTheWoodlandsLLC   24838     2020Ͳ08Ͳ14   $1,858.55     $7,039.96
9680        19487     1164         Jason                 Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24845     2020Ͳ08Ͳ14    $184.80       $700.00
9680        19487     1164         Jason                 Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24846     2020Ͳ08Ͳ14    $518.68      $1,964.70
9680        19487     1164         Jason                 Holladay           PrevaAdvancedSurgicareͲTheWoodlandsLLC   24847     2020Ͳ08Ͳ14   $3,374.82    $12,783.41
9801        19730     731          DavidW.              Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   25335     2020Ͳ09Ͳ18   $6,944.36    $26,304.40
9802        19732     596          R.James              Amaro              PrevaAdvancedSurgicareͲTheWoodlandsLLC   25337     2020Ͳ09Ͳ18   $7,645.66    $28,960.80
9806        19734     726          DavidR.              Feldman            PrevaAdvancedSurgicareͲTheWoodlandsLLC   25338     2020Ͳ09Ͳ18   $2,875.54    $10,892.20
9807        19736     993          Ronald                Braswell           PrevaAdvancedSurgicareͲTheWoodlandsLLC   25355     2020Ͳ09Ͳ18   $4,623.42    $17,512.96
9808        19738     2015         KyleM.              Wilkins            PrevaAdvancedSurgicareͲTheWoodlandsLLC   25356     2020Ͳ09Ͳ18   $4,893.08    $18,534.40
9808        19738     2015         KyleM.              Wilkins            PrevaAdvancedSurgicareͲTheWoodlandsLLC   27075     2020Ͳ10Ͳ26   $3,374.82    $12,783.41
9809        19740     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   25357     2020Ͳ09Ͳ18   $2,875.54    $10,892.20
9809        19740     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   25358     2020Ͳ09Ͳ18   $2,875.54    $10,892.20
9810        19742     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   25359     2020Ͳ09Ͳ18   $2,875.54    $10,892.20
10121       20360     731          DavidW.              Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   27069     2020Ͳ10Ͳ26   $3,880.80    $14,700.00
10122       20362     2073         DavidA.              Spradlin           PrevaAdvancedSurgicareͲTheWoodlandsLLC   27070     2020Ͳ10Ͳ26   $7,645.65    $28,960.80
10123       20364     2008         Andrew                Kumar              PrevaAdvancedSurgicareͲTheWoodlandsLLC   27072     2020Ͳ10Ͳ26   $3,374.82    $12,783.41
10123       20364     2008         Andrew                Kumar              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28242     2020Ͳ12Ͳ09   $4,205.52    $15,930.00
10123       20364     2008         Andrew                Kumar              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28385     2020Ͳ12Ͳ23   $4,205.52    $15,930.00
10124       20366     829          Abraham               Garcia             PrevaAdvancedSurgicareͲTheWoodlandsLLC   27076     2020Ͳ10Ͳ26   $3,880.80    $14,700.00
10125       20368     731          DavidW.              Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   27077     2020Ͳ10Ͳ26   $5,879.28    $22,270.00
10287       20696     2087         John                  Munoz              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28370     2020Ͳ12Ͳ23   $2,531.76     $9,590.00
10287       20696     2087         John                  Munoz              PrevaAdvancedSurgicareͲTheWoodlandsLLC   29069     2021Ͳ02Ͳ11   $6,903.60    $26,150.00
10367       20858     2084         Clay                  Dugas              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28241     2020Ͳ12Ͳ09   $2,531.76     $9,590.00
10368       20860     1130         J.Robert             BrownJr.          PrevaAdvancedSurgicareͲTheWoodlandsLLC   28243     2020Ͳ12Ͳ09   $3,880.80    $14,700.00
10369       20862     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   28244     2020Ͳ12Ͳ09   $3,880.80    $14,700.00
10370       20864     731          DavidW.              Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   28245     2020Ͳ12Ͳ09   $4,205.52    $15,930.00
10371       20866     589          TomN.                Tran               PrevaAdvancedSurgicareͲTheWoodlandsLLC   28246     2020Ͳ12Ͳ09   $3,880.80    $14,700.00
10385       20894     2093         JeffreyM.           Staples            PrevaAdvancedSurgicareͲTheWoodlandsLLC   28371     2020Ͳ12Ͳ23   $1,681.67     $6,369.95
10386       20896     1566         JenniferR.           Jacobson           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28372     2020Ͳ12Ͳ23   $4,205.52    $15,930.00
10386       20896     1566         JenniferR.           Jacobson           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28373     2020Ͳ12Ͳ23   $3,880.80    $14,700.00
10386       20896     1566         JenniferR.           Jacobson           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28622     2021Ͳ01Ͳ28   $2,531.76     $9,590.00
10387       20898     623          James                 Grantham           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28375     2020Ͳ12Ͳ23   $3,880.80    $14,700.00
10388       20900     623          James                 Grantham           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28376     2020Ͳ12Ͳ23   $3,880.80    $14,700.00
10389       20902     964          Dawn                  Saifi              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28377     2020Ͳ12Ͳ23   $2,531.76     $9,590.00
10389       20902     964          Dawn                  Saifi              PrevaAdvancedSurgicareͲTheWoodlandsLLC   29070     2021Ͳ02Ͳ11   $2,531.76     $9,590.00
10390       20904     731          DavidW.              Bergquist          PrevaAdvancedSurgicareͲTheWoodlandsLLC   28378     2020Ͳ12Ͳ23   $6,903.60    $26,150.00
10391       20906     1511         Bobbie                Elkins             PrevaAdvancedSurgicareͲTheWoodlandsLLC   28379     2020Ͳ12Ͳ23   $4,920.96    $18,640.00
10391       20906     1511         Bobbie                Elkins             PrevaAdvancedSurgicareͲTheWoodlandsLLC   29073     2021Ͳ02Ͳ11   $4,920.96    $18,640.00
10392       20908     2094         Steve                 Shellist           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28380     2020Ͳ12Ͳ23   $7,553.04    $28,610.00
10392       20908     2094         Steve                 Shellist           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28628     2021Ͳ01Ͳ28   $4,205.52    $15,930.00
10393       20910     658          JasonC.              McLaurin           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28381     2020Ͳ12Ͳ23   $6,903.60    $26,150.00
10393       20910     658          JasonC.              McLaurin           PrevaAdvancedSurgicareͲTheWoodlandsLLC   30134     2021Ͳ04Ͳ15   $1,681.67     $6,369.95
10394       20912     1305         Tony                  Denena             PrevaAdvancedSurgicareͲTheWoodlandsLLC   28382     2020Ͳ12Ͳ23   $3,880.80    $14,700.00
10394       20912     1305         Tony                  Denena             PrevaAdvancedSurgicareͲTheWoodlandsLLC   30138     2021Ͳ04Ͳ15   $1,857.49     $7,035.95
10395       20914     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   28383     2020Ͳ12Ͳ23   $6,903.60    $26,150.00
10396       20916     2095         Nicholas              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   28384     2020Ͳ12Ͳ23   $3,880.80    $14,700.00
10414       20952     1098         Matias               Adrogue            PrevaAdvancedSurgicareͲTheWoodlandsLLC   28621     2021Ͳ01Ͳ28   $1,681.67     $6,369.95
10415       20954     826          MiguelA.             Adame              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28623     2021Ͳ01Ͳ28   $5,229.84    $19,810.00
10416       20956     1970         RyanA.               Dehoyos            PrevaAdvancedSurgicareͲTheWoodlandsLLC   28624     2021Ͳ01Ͳ28   $3,880.80    $14,700.00
10417       20958     625          StewartJ.            Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   28625     2021Ͳ01Ͳ28   $2,531.76     $9,590.00
10418       20960     2104         John                  Urquhart           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28626     2021Ͳ01Ͳ28   $3,880.80    $14,700.00
10419       20962     709          Adam                  Ramji              PrevaAdvancedSurgicareͲTheWoodlandsLLC   28627     2021Ͳ01Ͳ28   $3,880.80    $14,700.00
10419       20962     709          Adam                  Ramji              PrevaAdvancedSurgicareͲTheWoodlandsLLC   29368     2021Ͳ04Ͳ15   $3,880.80    $14,700.00
10420       20964     988          Kevin                 Forsberg           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28629     2021Ͳ01Ͳ28   $4,205.52    $15,930.00
10421       20966     2095         Nicholas              Fleming            PrevaAdvancedSurgicareͲTheWoodlandsLLC   28630     2021Ͳ01Ͳ28   $3,880.80    $14,700.00
10422       20968     994          Richard               Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28631     2021Ͳ01Ͳ28   $4,205.52    $15,930.00
10422       20968     994          Richard               Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   28632     2021Ͳ01Ͳ28   $4,205.52    $15,930.00
10422       20968     994          Richard               Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   29076     2021Ͳ02Ͳ11   $7,553.04    $28,610.00
10594       21323     2129         AimeeM.              Robert             PrevaAdvancedSurgicareͲTheWoodlandsLLC   29071     2021Ͳ02Ͳ11   $2,531.76     $9,590.00
10595       21327     856          GregoryP.            Lee                PrevaAdvancedSurgicareͲTheWoodlandsLLC   29074     2021Ͳ02Ͳ11   $4,205.52    $15,930.00
10596       21329     658          JasonC.              McLaurin           PrevaAdvancedSurgicareͲTheWoodlandsLLC   29075     2021Ͳ02Ͳ11   $5,879.28    $22,270.00
10597       21331     2130         JonR.                Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   29077     2021Ͳ02Ͳ11   $2,531.76     $9,590.00
10597       21331     2130         JonR.                Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   29078     2021Ͳ02Ͳ11   $3,880.80    $14,700.00
10597       21331     2130         JonR.                Alworth            PrevaAdvancedSurgicareͲTheWoodlandsLLC   29366     2021Ͳ04Ͳ15   $3,880.80    $14,700.00
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PatientID   ClaimId   AttorneyID   AttorneyFirstName   AttorneyLastName   Provider                                        BillId     PaidDate     BillCost       BillGFB
10642       21421     2143         LesterB.          Nichols            PrevaAdvancedSurgicareͲTheWoodlandsLLC   29365     2021Ͳ04Ͳ15   $4,205.52    $15,930.00
10642       21421     2143         LesterB.          Nichols            PrevaAdvancedSurgicareͲTheWoodlandsLLC   30131     2021Ͳ04Ͳ15   $4,205.52    $15,930.00
10643       21423     2146         DerekM.            Causey             PrevaAdvancedSurgicareͲTheWoodlandsLLC   29367     2021Ͳ04Ͳ15   $4,205.52    $15,930.00
10644       21425     895          AdamP.             Criaco             PrevaAdvancedSurgicareͲTheWoodlandsLLC   29369     2021Ͳ04Ͳ15   $1,316.30     $4,986.00
10645       21427     1511         Bobbie              Elkins             PrevaAdvancedSurgicareͲTheWoodlandsLLC   29370     2021Ͳ04Ͳ15   $3,880.80    $14,700.00
10645       21918     994          Richard             Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   30136     2021Ͳ04Ͳ15   $3,022.80    $11,450.00
10645       21918     994          Richard             Presutti           PrevaAdvancedSurgicareͲTheWoodlandsLLC   30137     2021Ͳ04Ͳ15   $4,205.52    $15,930.00
10646       21429     1305         Tony                Denena             PrevaAdvancedSurgicareͲTheWoodlandsLLC   29371     2021Ͳ04Ͳ15   $1,681.67     $6,369.95
10886       21916     625          StewartJ.          Guss               PrevaAdvancedSurgicareͲTheWoodlandsLLC   30132     2021Ͳ04Ͳ15   $2,531.76     $9,590.00
10887       21922     856          GregoryP.          Lee                PrevaAdvancedSurgicareͲTheWoodlandsLLC   30141     2021Ͳ04Ͳ15   $4,205.52    $15,930.00
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                                         EXHIBIT 7
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                                                           Kyle M. Wyant, Esq.
                                                       8   Nevada Bar No. 14652
                                                           SHEA LARSEN
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                                                           Fax: (702) 926-9683
                                                      11   Email: blarsen@shea.law
                                                                   kwyant@shea.law
              1731 Village Center Circle, Suite 150




                                                      12
                                                           Attorneys for HASelect-Medical Receivables
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13   Litigation Finance Fund International SP
                        (702) 471-7432




                                                      14                               UNITED STATES BANKRUPTCY COURT
                                                      15                                   FOR THE DISTRICT OF NEVADA
                                                      16
                                                            In re:                                             Case No.: 21-14486-abl
                                                      17                                                       Chapter 7
                                                            INFINITY CAPITAL MANAGEMENT, INC.
                                                      18    dba INFINITY HEALTH CONNECTIONS,
                                                      19                    Debtor.
                                                      20
                                                                       [PROPOSED] ORDER GRANTING JOINT MOTION TO ENFORCE
                                                      21
                                                                      COURT ORDERS AND REQUIRE PREVA ADVANCED SURGICARE –
                                                      22               THE WOODLANDS, LLC TO REMIT PAYMENTS RELATING TO
                                                                                      ACCOUNTS RECEIVABLE
                                                      23

                                                      24             The Court, having considered the Joint Motion to Enforce Court Orders and Require Preva

                                                      25   Advanced Surgicare – The Woodlands LLC to Remit Payments Relating to Accounts Receivable

                                                      26   [ECF No. ___ ] (the “Joint Motion”) filed jointly by HASelect-Medical Receivables Litigation

                                                      27   Finance Fund International SP (“HASelect”) and Tecumseh–Infinity Medical Receivable Fund,

                                                      28   LP, (“Tecumseh”) and good cause appearing, IT IS HEREBY ORDERED:


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                                                                   1.     The Joint Motion is GRANTED;
                                                       2
                                                                   2.     Any person or entity, including, but not limited to, Preva Advanced Surgicare –
                                                       3
                                                           The Woodlands, LLC (“Preva”), is hereby ordered and required to immediately turn over all
                                                       4
                                                           proceeds collected on and all payments due in connection with all accounts receivable and other
                                                       5
                                                           rights to payment included in the Portfolio, as defined in the Joint Motion (and as further described
                                                       6
                                                           with respect to Preva in Exhibit 6 attached thereto), to TPL Claims Management, LLC (“TPL”) at
                                                       7
                                                           such location as TPL may instruct;
                                                       8
                                                                   3.     Any person or entity, including, but not limited to, Preva Advanced Surgicare –
                                                       9
                                                           The Woodlands, LLC, is hereby ordered and required to immediately turn over all proceeds
                                                      10
                                                           collected on and all payments due in connection with all accounts receivable and other rights to
                                                      11
                                                           payment included in the Collateral, as defined in the Joint Motion (and as further described with
              1731 Village Center Circle, Suite 150




                                                      12
                                                           respect to Preva in Exhibit 5 attached thereto), to HASelect at such location as HASelect may
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                           instruct;
                                                      14
                                                                   4.     Within 14 days following the entry of this Order and continuing each month
                                                      15
                                                           thereafter for so long as any portion of the Preva Accounts(as defined in the Joint Motion) remain
                                                      16
                                                           uncollected, Preva Advanced Surgicare – The Woodlands, LLC shall provide to Tecumseh and
                                                      17
                                                           HASelect (or their respective designees) an accounting of the current status of all Preva Accounts
                                                      18
                                                           consistent with Preva’s monthly reporting obligations to Infinity under section 6 of the Purchase
                                                      19
                                                           and Sale Agreement attached to the Joint Motion as Exhibit 4.
                                                      20
                                                                   5.     TPL is hereby authorized and empowered to take commercially reasonable actions,
                                                      21
                                                           subject to and as allowed under its agreements with HASelect and Tecumseh, to effectuate the
                                                      22
                                                           servicing and collection of the Portfolio and to hold the proceeds of the Portfolio in escrow pending
                                                      23
                                                           the final resolution of all claims and counterclaims asserted in this Adversary Proceeding as
                                                      24
                                                           contemplated under such agreements;
                                                      25
                                                                   6.     TPL shall be authorized to endorse and negotiate any check remitted in payment of
                                                      26
                                                           any of the accounts receivable included in the Portfolio, including any check made payable to the
                                                      27
                                                           Debtor, Infinity Health Connection, Infinity Health Solutions, LLC, or Buena Vista Rx.; and
                                                      28


                                                                                                        Page 2 of 3
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                                                                    7.   This Court shall retain jurisdiction to interpret and enforce the provisions of this
                                                       2
                                                           Order.
                                                       3
                                                                    IT IS SO ORDERED.
                                                       4
                                                             Respectfully submitted by:
                                                       5
                                                             SHEA LARSEN
                                                       6

                                                       7
                                                             By: /s/ Bart K. Larsen, Esq.
                                                       8     Bart K. Larsen, Esq.
                                                             Nevada Bar No. 8538
                                                       9     Kyle M. Wyant, Esq.
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